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                               7

                               8                                UNITED STATES DISTRICT COURT

                               9                              NORTHERN DISTRICT OF CALIFORNIA

                            10                                       SAN FRANCISCO DIVISION

                            11     IN RE: CATHODE RAY TUBE (CRT)                  Master File No. 3:07-5944-SC
                                   ANTITRUST LITIGATION,                          Individual Docket No. 13-cv-1173-SC
                            12
                                                                                  MDL No. 1917
                            13     This Document Relates to:
                                                                                  [PROPOSED] ORDER GRANTING
                            14     Sharp Electronics Corp., et al. v.             TECHNOLOGIES DISPLAYS
                                   Hitachi, Ltd., et al., No. 13-cv-01173         AMERICAS, LLC’S MOTION TO
                            15                                                    DISMISS THE FIRST AMENDED
                                                                                  COMPLAINT
                            16
                                                                                  Date:        February 7, 2013
                            17                                                    Time:        10:00 A.M.
                                                                                  Courtroom:   1, 17th Floor
                            18                                                    Judge:       Hon. Samuel Conti
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SQUIRE SANDERS (US) LLP
  275 Battery Street, Suite 2600   [PROPOSED] ORDER GRANTING TECHNOLOGIES DISPLAYS AMERICAS, LLC’S MOTION TO DISMISS
 San Francisco, California 94111
                                         FIRST AMENDED COMPLAINT - Master File #3:07-5944-SC; MDL #1917; Case #13-cv-01173
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                               1          This matter having come regularly for hearing on February 7, 2014, on defendant

                               2   Technologies Displays Americas, LLC’s Motion to Dismiss, and the Court having considered the

                               3   papers filed in support of and in opposition thereto, and the Court having considered the
                               4   arguments of all parties,

                               5          GOOD CAUSE APPEARING THEREFOR, Plaintiffs Sharp Electronics Corporation and

                               6   Sharp Electronics Manufacturing Company of America, Inc.’s First Amended Complaint, is
                               7   hereby dismissed as with prejudice as to Technologies Displays Americas, LLC

                               8          IT IS SO ORDERED.

                               9
                            10     Dated: __________________, 2014                     ____________________________________
                                                                                                Honorable Samuel Conti
                            11
                                                                                            United States District Court Judge
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